                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF IOWA
                            EASTERN DIVISION

 UNITED STATES OF AMERICA,
              Plaintiff,                                 CR 11-2046 LRR
 vs.                                                         ORDER
 DION THOMAS,
              Defendant.
                               ____________________

       On August 29, 2012, the Court accepted the jury verdict finding Defendant Dion
Thomas guilty on Counts 1 and 3 of the Indictment.
       Accordingly, IT IS ORDERED as follows:
       1.    Defendant is adjudicated guilty of Counts 1 and 3 of the Indictment.
       2.    The United States Probation Office shall conduct a presentence investigation
and prepare a report.
       3.    The attorneys shall timely comply with the deadlines for preparation of the
presentence report.
       4.    Defendant remains detained pending sentencing.
       IT IS SO ORDERED.
       DATED this 29th day of August, 2012.




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